                  Case 2:23-cv-01998-JLR Document 1 Filed 12/28/23 Page 1 of 52



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 3

 4
                                 UNITED STATES DISTRICT COURT
 5                         FOR THE WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 6

 7
     GARY HOLZ, JOEL GUAY, and GLORIA                      No.
 8   MONCRIEF, individually and on behalf of all
     others similarly situated,
 9
                                                           CLASS ACTION COMPLAINT
                                         Plaintiffs,
10
             v.
11
                                                           DEMAND FOR JURY TRIAL
12
     FRED HUTCHINSON CANCER CENTER, a
     Washington Nonprofit Corporation,
13
                                         Defendant.
14

15

16
             Plaintiffs Gary Holz, Joel Guay, and Gloria Moncrief (collectively, “Plaintiffs”),
17
     individually and on behalf of all others similarly situated, by and through their counsel, bring this
18
     Class Action Complaint against Defendant Fred Hutchinson Cancer Center d/b/a Fred Hutch
19
     (“Fred Hutch” or “Defendant”) and its present, former, or future direct and indirect parent
20
     companies, subsidiaries, affiliates, agents, and/or other related entities and alleges, upon personal
21
     knowledge as to their own actions and their counsel’s investigation, and upon information and
22
     belief as to all other matters, as follows:
23
                                          I.       INTRODUCTION
24
             1.      Plaintiffs and Class Members were required to provide Defendant their
25
     confidential and sensitive information to obtain medical services. Defendant failed to maintain
26
     adequate security protocols in storing and/or transferring this information, and as a result,
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                   Case 2:23-cv-01998-JLR Document 1 Filed 12/28/23 Page 2 of 52



 1   cybercriminals were able to infiltrate Defendant’s computer systems and steal Plaintiffs’ and
 2   Class Members’ highly sensitive personal information.
 3            2.      To make matters worse, the instant data breach is not Defendant’s first data breach.
 4   Defendant was also hacked on March 25, 2022 when it “discovered suspicious activity associated
 5   with a single employee’s business email account.” 1 Defendant admitted that during that 2022 data
 6   breach, “an unauthorized individual accessed the account between March 25 and March 26, 2022”
 7   and was able to steal current and former patients’ personal information. 2
 8            3.      Despite this prior data breach, Defendant has still failed to provide adequate data
 9   security which resulted in yet another data breach. Specifically, on November 19, 2023,
10   Defendant “detected unauthorized activity on our clinical network” and learned that
11   cybercriminals were able to access Defendant’s computer systems (“Data Breach”) and, on
12   information and belief, were able to exfiltrate current and former patient’s personally identifiable
13   information (“PII”) and protected health information (“PHI”) (“PII” and “PHI” or, collectively,
14   “Personal Information”). 3 Defendant also admits it believes that “the criminal group responsible
15   [for the Data Breach] is outside the United States.” 4
16            4.      Plaintiffs are victims of the Data Breach, having received a breach notice.
17   Plaintiffs bring this class action on behalf of themselves, and all others harmed by Defendant’s
18   misconduct.
19                                 II.    JURISDICTION AND VENUE
20

21

22

     1
23     See Notice of Data Breach, CALIFORNIA ATTY GEN,
     https://oag.ca.gov/system/files/%28AD%20CM%2012M%29%20ELN-
24   15938%20Fred%20Hutchinson%20CC.pdf (last visited December 27, 2023).
     2
25
       Id.
     3
       See FRED HUTCH, Update on Data Security Incident (Dec. 7, 2023)
26   https://www.fredhutch.org/en/about/about-the-hutch/accountability-impact/data-security-
     incident.html (last visited December 27, 2023).
     4
       Id.
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                   Case 2:23-cv-01998-JLR Document 1 Filed 12/28/23 Page 3 of 52



 1            5.      This Court has subject matter jurisdiction over this action under 28 U.S.C. §
 2   1332(d) because this is a class action wherein the amount in controversy exceeds the sum or value
 3   of $5,000,000, exclusive of interest and costs, there are more than 100 members in the proposed
 4   class, and at least one member of the class is a citizen of a state different from Defendant. 5
 5            6.      The Court has general personal jurisdiction over Defendant because, personally or
 6   through its agents, Defendant operates, conducts, engages in, or carries on a business in
 7   Washington; it is registered with the Secretary of State in Washington as a Washington nonprofit
 8   corporation; it maintains its headquarters in Washington; and committed tortious acts in
 9   Washington.
10            7.      Venue is proper in this District pursuant to 28 U.S.C. § 1391 because it is the
11   district within which Defendant has the most significant contacts.
12                                            III.   PARTIES
13            8.      Plaintiff Gary Holz is an individual and a resident of King County, Washington.
14            9.      Plaintiff Joel Guay is an individual and is a resident of King County, Washington.
15            10.     Plaintiff Gloria Moncrief is an individual and a resident of Snohomish County,
16   Washington.
17            11.     Defendant, Fred Hutchinson Cancer Center, is a Washington Nonprofit
18   Corporation with its principal place of business at 1100 Fairview Ave N, Seattle, Washington
19   98109.
20                                  IV.    FACTUAL BACKGROUND
21            Defendant’s Collection of Plaintiffs’ and Class Members’ Personal Information
22            12.     In April 2022, Fred Hutchinson Cancer Center was created by way of a merger of
23   Fred Hutchinson Cancer Research Center with the Seattle Cancer Care Alliance (SCCA). The
24

25
     5
26     Defendant submitted notice of the Data Breach to the Office of the California Attorney General
     indicating that at least one California resident was a victim of the Data Breach:
     https://oag.ca.gov/ecrime/databreach/reports/sb24-578365
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                Case 2:23-cv-01998-JLR Document 1 Filed 12/28/23 Page 4 of 52



 1   result of unifying these research and patient care entities was the creation of a unified adult cancer
 2
     research and care center that is clinically integrated with University of Washington (UW)
 3
     Medicine and UW Medicine's cancer program. The purpose of this merger was to integrate
 4
     scientific endeavors and clinical care to ensure patients have access to the most innovative care.
 5
     As a result of the restructuring, Fred Hutch now serves as UW Medicine’s cancer program. 6
 6
              13.    Fred Hutch is an independent organization that specializes in cancer care as well
 7

 8   as cancer and infectious disease research. 7 It conducts research in more than 60 difference

 9   countries and employs roughly 5700 people. 8

10            14.    As part of its general business practices, Defendant stores large amounts of highly
11
     sensitive Personal Information about its current and former patients, including Plaintiffs and Class
12
     Members.
13
              15.    In collecting and maintaining Plaintiffs’ and Class Members’ Personal
14
     Information, Defendant agreed that it would safeguard their Personal Information in accordance
15
     with its internal policies and state law.
16

17            16.    Under state law, entities like Defendant have duties to protect its current and

18   former patients’ Personal Information and to notify them about any data breaches.

19            17.    Defendant knew of its duties under state law to implement adequate cyber security
20
     practices and policies. Indeed, Defendant made affirmative representations to Plaintiffs and Class
21
     Members that they would protect their Personal Information.
22

23
     6
       See Hutch News Stories: Fred Hutch and Seattle Cancer Care Alliance unite, reshape
24   relationship with UW Medicine, Fred Hutch Cancer Center (Apr. 1, 2022),
25
     https://www.fredhutch.org/en/news/center-news/2022/04/fred-hutch-scca-restructure.html (last
     visited December 27, 2023).
     7
26     See About Us, FRED HUTCH, https://www.fredhutch.org/en/about.html (last visited December
     27, 2023).
     8
       Id.
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                Case 2:23-cv-01998-JLR Document 1 Filed 12/28/23 Page 5 of 52



 1            18.    Specifically, Fred Hutch’s “Privacy Policy and Terms of Use,” provides:
 2
              Fred Hutch has a Privacy Policy that describes how we collect information from
 3
              you or about you, why we collect this information, how we will use or disclose this
              information. In addition, Fred Hutch’s Privacy Policy sets forth our general policies
 4            on information security.” 9
              Defendant’s Pattern of Negligence
 5

 6            19.    As discussed above, Defendant’s current Data Breach is not an isolated incident
 7
     and is in fact a part of a pattern of Defendant’s continued negligent data security practices.
 8
              20.    The instant Data Breach is the second time that Defendant has experienced a
 9
     serious data breach within the last couple of years. 10 Specifically, between March 25 and March
10
     26, 2022, Defendant’s data systems were hacked by an unknown and unauthorized individual. 11
11
     This prior data breach also exposed the Personal Information of Defendant’s patients. 12
12

13            21.    Clearly, Defendant has not learned from its recent mistakes and its negligence has

14   caused yet another data breach to occur approximately one year later.

15            The Data Breach
16
              22.    On or about between December 6, 2023 and December 8, 2023, Defendant sent
17
     Plaintiffs and, on information and belief, Class Members, emails pertaining to the Data Breach
18
     and the threatening ransom emails that Class Members have been receiving from cybercriminals.
19
     Specifically, one variation of the email provided:
20
              Dear valued community,
21
              We're writing to alert all current and former patients (including former Seattle
22            Cancer Care Alliance patients) that Fred Hutchinson Cancer Center recently
              experienced a cybersecurity incident. We took immediate action to contain the
23

24
     9
25
       See FRED HUTCH, Privacy Policy and Terms of Use, https://www.fredhutch.org/en/util/terms-
     privacy.html (last visited December 27, 2023).
     10
26      See Supra, at Footnote No. 1.
     11
        Id.
     12
        Id.
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              Case 2:23-cv-01998-JLR Document 1 Filed 12/28/23 Page 6 of 52



 1          impact, contacted federal law enforcement, engaged a leading forensic security
            firm, and proactively took our clinical network offline.
 2

 3
            All Fred Hutch clinics are open and actively serving patients.

 4          Our patients' health and safety is our top priority. Our forensic team is continuing
            to assess the data involved. We are working to complete the investigation as quickly
 5          as possible and will contact any individuals whose information was involved.
 6          In the meantime, as a precautionary measure, we recommend you remain vigilant
            to protect against potential fraud and/or identity theft by, among other things,
 7
            reviewing your account statements and monitoring credit reports closely. If you
 8          detect any suspicious activity on an account, you should promptly notify the
            financial institution or company that maintains the account. You should also
 9          promptly report any fraudulent activity or any suspected incidents of identity theft
            to appropriate law enforcement authorities, including the police and your state’s
10          attorney general, as well as the Federal Trade Commission ("FTC").
11
            It is also common for cyber criminals to send threatening spam messages and
12          demand money. If you receive suspicious or threatening phone calls or emails,
            report these messages to the FBI's Internet Crime Complaint Center at ic3.gov.
13          Then block the sender, delete the message and do not send any money to the
            cybercriminal. In addition, consider reporting the message as spam through your
14          email. 13
15          23.    The other variation of this email provided:
16          Dear Valued Patient,
17
            This message is to make you aware that Fred Hutchinson Cancer Center recently
18          experienced a cybersecurity incident. We are close partners with Fred Hutch Cancer
            Center; Fred Hutch serves as UW Medicine’s cancer program and we advance
19          cancer research together through the Fred Hutch/University of Washington/Seattle
            Children’s Cancer Consortium. As a result of our work with Fred Hutch, the
20          cybersecurity incident experienced on Fred Hutch systems impacted data for some
            UW Medicine patients who have not been seen at Fred Hutch.
21

22          Some patients have received an email from the cyber-criminals and we are sorry if
            you received one. Unfortunately, this is a common tactic they use and law
23          enforcement has been notified of these messages. If you receive a message
            demanding a ransom, do not pay it. Please report these messages to the FBI’s
24          Internet Crime Complaint Center at ic3.gov. Then block the sender and delete the
25

26
     13
       See Email to Plaintiff Joel Guay from Defendant Fred Hutchinson Cancer Center attached
     hereto as Exhibit A.
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                   Case 2:23-cv-01998-JLR Document 1 Filed 12/28/23 Page 7 of 52



 1           message. In addition, you may consider reporting the message as spam through
             your email.
 2

 3
             Immediate action was taken to contain the impact, including contacting federal law
             enforcement, engaging a leading forensic security firm and proactively taking the
 4           Fred Hutch clinical network offline. A forensic team is continuing to assess the
             situation and Fred Hutch will directly contact any individuals whose information
 5           was involved. 14
 6           24.      To date, Defendant has still failed to provide any notice of data breach letters to
 7   Plaintiffs and, on information and belief, Class Members. Indeed, the early December 2023 emails
 8   received by Plaintiffs are woefully inadequate and fail to provide any details about the Data
 9   Breach that would allow for Plaintiffs and Class Members to take action to protect themselves
10   against the cybercriminals that stole their Personal Information.
11           25.      While the emails provide little to no insight as to the Data Breach, Defendant’s
12   website provides that on November 19, 2023, Defendant “detected unauthorized activity on [its]
13   clinical network.” 15 Defendant surprisingly do not provide any further information but believe
14   that “the criminal group responsible [for the Data Breach] is [located] outside the United
15   States.” 16
16           26.      Defendant claims that “the UW Medicine system was not impacted.” 17 However,
17   on information and belief, the Data Breach did indeed impact the broader UW Medicine system.
18   This is because Defendant stated that “UW Medicine clinicians also provide care to patients at
19   Fred Hutch and some services are provided across multiple Fred Hutch and UW Medicine
20   locations.” 18 On information and belief, Class Members were each contacted by Defendant as
21   well and therefore their information was also involved in the Data Breach.
22

23
     14
        See Emails to Plaintiffs Gary Holz and Gloria Moncrief from Defendant Fred Hutchinson
24   Cancer Center attached hereto as Exhibit B.
     15
25
        See https://www.fredhutch.org/en/about/about-the-hutch/accountability-impact/data-security-
     incident.html (last visited December 27, 2023).
     16
26      Id.
     17
        Id.
     18
        Id.
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               Case 2:23-cv-01998-JLR Document 1 Filed 12/28/23 Page 8 of 52



 1          27.     Moreover, Defendant readily admits that Class Members are “receiv[ing]
 2   threatening spam email” which is further evidence that the cybercriminal actors were able to
 3   access Defendant’s systems and exfiltrate Plaintiffs’ and Class Members’ Personal Information. 19
 4   Indeed, Defendant even warned that “[i]f the[se] message[s] demand[] ransom, DO NOT PAY
 5   IT” again illustrating the severity of the Data Breach and the fact that Plaintiffs’ and Class
 6   Members’ Personal Information was exfiltrated by, and is currently being used by, cybercriminals
 7   to further victimize Plaintiffs and Class Members. 20
 8          28.     Worryingly, Class Members have begun to receive “threatening emails claiming
 9   names, Social Security numbers, medical history and other data of more than 800,000 patients
10   had been compromised.” 21
11          29.     To make matters even worse, Defendant delayed notifying Plaintiffs and Class
12   Members until approximately a full month after the Data Breach and has failed to emphasize the
13   severity of the Data Breach. Indeed, Defendant’s Update on Data Security Incident fails to
14   provide critical information including the types of Personal Information stolen in the Data Breach,
15   and whether or not the cybercriminals were able to exfiltrate Plaintiffs’ and Class Members’
16   Personal Information. As explained in detail infra, the cybercriminals were able to exfiltrate
17   Plaintiffs’ and Class Members’ Personal Information, including Social Security numbers and
18   medical history information, as illustrated by the threatening ransom messages Class Members
19   have been receiving. 22
20          30.     This substantial delay notifying Plaintiffs and Class Members, and Defendant’s
21   woefully inadequate and misleading warning to the public, deprived Plaintiffs and Class Members
22

23
     19
        Id.
24   20
        Id.
     21
25
        See ABC NEWS, Some Seattle cancer center patients are receiving threatening emails after
     last month's data breach, (Dec. 9, 2023) https://abc17news.com/ap-national/2023/12/09/some-
26   seattle-cancer-center-patients-are-receiving-threatening-emails-after-last-months-data-breach/
     (last visited December 27, 2023).
     22
        Id.
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               Case 2:23-cv-01998-JLR Document 1 Filed 12/28/23 Page 9 of 52



 1   of the opportunity to mitigate their injuries and risk of fraud and only further portrays Defendant’s
 2   wholly inadequate data security and data breach notification practices.
 3          31.     Currently, the precise number of persons injured is unclear. But upon information
 4
     and belief, the size of the putative class can be ascertained from information in Defendant’s
 5
     custody and control. Furthermore, upon information and belief, the putative class is well over one
 6
     thousand members, as it includes Defendant’s current and former patients.
 7
            32.     Defendant failed in upholding its duties to Plaintiffs and Class Members when its
 8
     inadequate security practices caused the Data Breach. In other words, Defendant’s negligence is
 9

10   evidenced by its failure to prevent the Data Breach and stop cybercriminals from accessing the

11   Personal Information. As such, Defendant’s negligence has caused widespread injury and

12   monetary damages to Plaintiffs and Class Members.
13
            33.     Plaintiffs’ and Class Members’ sensitive Personal Information has been stolen,
14
     sold, and on information and belief, reviewed by cybercriminals.
15
            34.     Further, the Notice of Data Breach shows that Defendant cannot, or will not,
16
     determine the full scope of the Data Breach, as Defendant has been unable to determine precisely
17
     what information was stolen and by whom it was stolen.
18
            35.     Defendant has done little to remedy the Data Breach. While Defendant has offered
19
     some Class Members basic credit monitoring, such offerings are wholly insufficient given the
20
     scope of the Data Breach and the type of Personal Information stolen.
21
            The Effects of the Data Breach on Plaintiff Gary Holz
22
            36.     Defendant sent Plaintiff Holz an email stating that his Personal Information may
23
     have been exposed in the Data Breach on or around December 7, 2023.
24
            37.     Following the Data Breach, Plaintiff Holz experienced a substantial uptick in the
25
     number and frequency of spam calls and emails attempting to obtain further Personal Information
26
     from him.

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              Case 2:23-cv-01998-JLR Document 1 Filed 12/28/23 Page 10 of 52



 1          38.     Plaintiff Holz made reasonable efforts to mitigate the impact of the Data Breach,
 2   including, but not limited to: researching the Data Breach; reviewing credit reports and financial
 3   account statements for any indications of actual or attempted identity theft or fraud; researching
 4   credit monitoring and identity theft protection services offered by Defendant; and dealing with
 5   unwanted spam emails and telephone calls.
 6          39.     Plaintiff Holz has spent a considerable amount of time dealing with the Data
 7   Breach, valuable time he otherwise would have spent on other activities, including but not limited
 8   to work and/or recreation.
 9          40.     Plaintiff Holz suffered actual injury from having his Personal Information
10   compromised as a result of the Data Breach including, but not limited to: (a) damage to and
11   diminution in the value of his Personal Information, a form of property that Defendant obtained
12   from Plaintiff Holz; (b) violation of her privacy rights; and (c) present, imminent, and impending
13   injury arising from the increased risk of identity theft and fraud.
14          41.     As a result of the Data Breach, Plaintiff Holz anticipates spending considerable
15   time and money on an ongoing basis to try to mitigate and address harms caused by the Data
16   Breach. As a result of the Data Breach, Plaintiff Holz is at a present risk and will continue to be
17   at increased risk of identity theft and fraud for years to come.
18          The Effect of the Data Breach on Joel Guay
19          42.     Defendant sent Plaintiff Guay an email stating that his Personal Information may
20   have been exposed in the Data Breach on or around December 7, 2023.
21          43.     Plaintiff Guay made reasonable efforts to mitigate the impact of the Data Breach,
22   including, but not limited to: researching the Data Breach; reviewing credit reports and financial
23   account statements for any indications of actual or attempted identity theft or fraud; researching
24   credit monitoring and identity theft protection services offered by Defendant; and dealing with
25   unwanted spam emails and telephone calls.
26



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              Case 2:23-cv-01998-JLR Document 1 Filed 12/28/23 Page 11 of 52



 1          44.     Plaintiff Guay has spent a considerable amount of time dealing with the Data
 2   Breach, valuable time he otherwise would have spent on other activities, including but not limited
 3   to work and/or recreation.
 4          45.     Plaintiff Guay suffered actual injury from having his Personal Information
 5   compromised as a result of the Data Breach including, but not limited to: (a) damage to and
 6   diminution in the value of his Personal Information, a form of property that Defendant obtained
 7   from Plaintiff Guay; (b) violation of his privacy rights; and (c) present, imminent, and impending
 8   injury arising from the increased risk of identity theft and fraud.
 9          46.     As a result of the Data Breach, Plaintiff Guay anticipates spending considerable
10   time and money on an ongoing basis to try to mitigate and address harms caused by the Data
11   Breach. As a result of the Data Breach, Plaintiff Guay is at a present risk and will continue to be
12   at increased risk of identity theft and fraud for years to come.
13          The Effects of the Data Breach on Plaintiff Gloria Moncrief
14          47.     Defendant sent Plaintiff Moncrief an email stating that her Personal Information
15   may have been exposed in the Data Breach on or around December 15, 2023.
16          48.     Following the Data Breach, Plaintiff Moncrief experienced a substantial uptick in
17   the number and frequency of spam calls and emails attempting to obtain further Personal
18   Information from her.
19          49.     Plaintiff Moncrief made reasonable efforts to mitigate the impact of the Data
20   Breach, including, but not limited to: researching the Data Breach; reviewing credit reports and
21   financial account statements for any indications of actual or attempted identity theft or fraud;
22   researching credit monitoring and identity theft protection services offered by Defendant; and
23   dealing with unwanted spam emails and telephone calls.
24          50.     Plaintiff Moncrief has spent a considerable amount of time dealing with the Data
25   Breach, valuable time she otherwise would have spent on other activities, including but not
26   limited to work and/or recreation.


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              Case 2:23-cv-01998-JLR Document 1 Filed 12/28/23 Page 12 of 52



 1          51.     Plaintiff Moncrief suffered actual injury from having her Personal Information
 2   compromised as a result of the Data Breach including, but not limited to: (a) damage to and
 3   diminution in the value of her Personal Information, a form of property that Defendant obtained
 4   from Plaintiff Moncrief; (b) violation of her privacy rights; and (c) present, imminent, and
 5   impending injury arising from the increased risk of identity theft and fraud.
 6          52.     As a result of the Data Breach, Plaintiff Moncrief anticipates spending
 7   considerable time and money on an ongoing basis to try to mitigate and address harms caused by
 8   the Data Moncrief. As a result of the Data Breach, Plaintiff Moncrief is at a present risk and will
 9   continue to be at increased risk of identity theft and fraud for years to come.
10          The Effects of the Data Breach on Plaintiff and Class Members
11          53.     Plaintiffs’ experiences in connection with the Data Breach are typical of those of
12   the Class Members.
13          54.     Given the sensitive nature of the Personal Information stolen in the Data Breach,
14   hackers have the ability to commit identify theft, financial fraud, and other identity-related fraud
15   against Plaintiffs and Class Members now and into the indefinite future.
16          55.     As a result of the Data Breach, Plaintiffs and Class Members will have to take a
17   variety of steps to monitor for and safeguard against identity theft, and they are at a much greater
18   risk of suffering such identity theft. In addition, these victims of the Data Breach are at a
19   heightened risk of potentially devastating financial identity theft. As the Bureau of Justice
20   Statistics reports, identity theft causes its victims out-of-pocket monetary losses and costs the
21   nation’s economy billions of dollars every year. 23
22          56.     Plaintiffs and Class Members have spent and will spend time, money, and effort
23   dealing with the fallout of the Data Breach, including purchasing credit protection services,
24

25

26
     23
       See U.S. Dept. of Justice, Bureau of Justice Statistics, Victims of Identity Theft, 2012 (Dec.
     2013), http://www.bjs.gov/content/pub/pdf/vit12.pdf (last visited December 27, 2023).
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              Case 2:23-cv-01998-JLR Document 1 Filed 12/28/23 Page 13 of 52



 1   contacting their financial institutions, checking credit reports, and spending time and effort
 2   searching for unauthorized activity.
 3          57.     The Personal Information exposed in the Data Breach is highly coveted and
 4   valuable on underground or black markets. A cyber “black market” exists in which criminals
 5   openly post and sell stolen consumer information on underground internet websites known as the
 6   “dark web,” exposing consumers to identity theft and fraud for years to come. Identity thieves
 7   can use the Personal Information to: (a) create fake credit cards that can be swiped and used to
 8   make purchases as if they were the real credit cards; (b) reproduce stolen debit cards and use them
 9   to withdraw cash from ATMs; (c) commit immigration fraud; (d) obtain a fraudulent driver’s
10   license or ID card in the victim’s name; (e) obtain fraudulent government benefits; (f) file a
11   fraudulent tax return using the victim’s information; (g) commit medical and healthcare-related
12   fraud; (h) access financial accounts and records; and (i) commit any number of other frauds, such
13   as obtaining a job, procuring housing, or giving false information to police during an arrest.
14          58.     Consumers are injured every time their data is stolen and placed on the Dark Web,
15   even if they have been victims of previous data breaches. Not only is the likelihood of identity
16   theft increased, but the dark web is not like Google or eBay. Each data breach puts victims at risk
17   of having their information uploaded to different dark web databases and viewed and used by
18   different criminal actors.
19          59.     Exposure of this information to the wrong people can have serious consequences.
20   Identity theft can have ripple effects, which can adversely affect the future financial trajectories
21   of victims’ lives. For example, the Identity Theft Resource Center reports that respondents to their
22   surveys in 2018-2020 described that the identity theft they experienced affected their ability to
23   get credit cards and obtain loans, such as student loans and mortgages. 24 For some victims, this
24

25
     24
26      See Identity Theft Resource Center, 2021 Consumer Aftermath Report,
     https://www.idtheftcenter.org/publication/identity-theft-the-aftermath-study/ (last visited
     December 27, 2023).
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              Case 2:23-cv-01998-JLR Document 1 Filed 12/28/23 Page 14 of 52



 1   could mean the difference between going to college or not, becoming a homeowner or not, or
 2   having to take out a high interest payday loan versus a lower-interest loan.
 3          60.     Annual monetary losses from identity theft are in the billions of dollars. According
 4   to a Presidential Report on identity theft produced in 2007:
 5                  In addition to the losses that result when identity thieves
                    fraudulently open accounts . . . individual victims often suffer
 6
                    indirect financial costs, including the costs incurred in both civil
 7
                    litigation initiated by creditors and in overcoming the many
                    obstacles they face in obtaining or retaining credit. Victims of non-
 8                  financial identity theft, for example, health-related or criminal
                    record fraud, face other types of harm and frustration.
 9
                    In addition to out-of-pocket expenses that can reach thousands of
10                  dollars for the victims of new account identity theft, and the
                    emotional toll identity theft can take, some victims have to spend
11                  what can be a considerable amount of time to repair the damage
                    caused by the identity thieves. Victims of new account identity theft,
12                  for example, must correct fraudulent information in their credit
                    reports and monitor their reports for future inaccuracies, close
13
                    existing bank accounts and open new ones, and dispute charges with
14
                    individual creditors. 25

15          61.     The unauthorized disclosure of Social Security numbers can be particularly

16   damaging because Social Security numbers cannot easily be replaced. To obtain a new number,

17   a person must prove, among other things, that he or she continues to be disadvantaged by the

18   misuse. Thus, under current rules, no new number can be obtained until damage has been done.

19   Furthermore, as the Social Security Administration warns:

20                  [A] new number probably won’t solve all your problems. This is
                    because other governmental agencies (such as the Internal
21                  Revenue Service and state motor vehicle agencies) and private
                    businesses (such as banks and credit reporting companies) will
22                  have records under your old number. Along with other personal
                    information, credit reporting companies use the number to identify
23
                    to identify your credit record. So using a new number won’t
24                  guarantee you a fresh start. This is especially true if your other

25
     25
26      See FTC, Combatting Identity Theft A Strategic Plan (April 2007),
     https://www.ftc.gov/sites/default/files/documents/reports/combating-identity-theft-strategic-
     plan/strategicplan.pdf (last visited December 27, 2023).
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                 Case 2:23-cv-01998-JLR Document 1 Filed 12/28/23 Page 15 of 52



 1                   personal information, such as your name and address, remains the
                     same.
 2
                     If you receive a new Social Security number, you shouldn’t use
 3                   the old number anymore.

 4                   For some victims of identity theft, a new number actually creates
                     new problems. If the old credit information isn’t associated with
 5                   your new number, the absence of any credit history under your new
                     number may make it more difficult for you to get credit. 26
 6
            56.      According to the Attorney General of the United States, Social Security numbers
 7
     “can be an identity thief’s most valuable piece of consumer information.” 27 Indeed, as explained
 8
     recently:
 9
                     The ubiquity of the SSN as an identifier makes it a primary target
10                   for both hackers and identity thieves. . . . When data breaches expose
                     SSNs, thieves can use these numbers—usually combined with other
11                   pieces of data—to impersonate individuals and apply for loans,
                     housing, utilities, or government benefits. Additionally, this
12                   information may be sold on the black market to other hackers. 28
13
            57.      As the result of the Data Breach, Plaintiffs and Class Members are likely to suffer
14
     economic loss and other actual harm for which they are entitled to damages, including, but not
15
     limited to, the following:
16
                  a. losing the inherent value of their Personal Information;
17                b. costs associated with the detection and prevention of identity theft
                     and unauthorized use of their financial accounts;
18
                  c. costs associated with purchasing credit monitoring, credit freezes,
19                   and identity theft protection services;
20                d. lowered credit scores resulting from credit inquiries following
                     fraudulent activities;
21
                  e. costs associated with time spent and the loss of productivity or the
22
                     enjoyment of one’s life from taking time to address and attempt to
                     mitigate and address the actual and future consequences of the Data
23

24   26
        See Identity Theft and Your Social Security Number (July 2021), Social Security
25
     Administration, https://www.ssa.gov/pubs/EN-05-10064.pdf (last visited December 27, 2023).
     27
        See Fact Sheet: The Work of the President’s Identity Theft Task Force, DOJ 06-636, 2006 WL
26   2679771 (Sep. 19, 2006).
     28
        See Daniel J. Marcus, The Data Breach Dilemma: Proactive Solutions for Protecting
     Consumers’ Personal Information, 68 Duke L.J. 555, 564-65 (2018).
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              Case 2:23-cv-01998-JLR Document 1 Filed 12/28/23 Page 16 of 52



 1                    Breach, including discovering fraudulent charges, cancelling and
                      reissuing cards, purchasing credit monitoring and identity theft
 2
                      protection services, imposing withdrawal and purchase limits on
 3
                      compromised accounts, and the stress, nuisance, and annoyance of
                      dealing with the repercussions of the Data Breach; and
 4                f. the continued imminent and certainly impending injury flowing
                     from potential fraud and identity theft posed by their Personal
 5
                     Information being in the possession of one or many unauthorized
 6                   third parties.

 7
            58.       Even in instances where a consumer is reimbursed for a financial loss due to
 8
     identity theft or fraud, that does not make that individual whole again, as there is typically
 9
     significant time and effort associated with seeking reimbursement that is not refunded. The
10
     Department of Justice’s Bureau of Justice Statistics found that identity theft victims “reported
11
     spending an average of about 7 hours clearing up the issues” relating to identity theft or fraud. 29
12
            59.       Theft of PHI is also gravely serious: “[a] thief may use your name or health
13
     insurance numbers to see a doctor, get prescription drugs, file claims with your insurance
14
     provider, or get other care. If the thief’s health information is mixed with yours, your treatment,
15
     insurance and payment records, and credit report may be affected.” 30
16
            60.       According to account monitoring company LogDog, medical data sells for $50
17
     and up on the Dark Web.
18
            61.       There may also be a significant time lag between when personal information is
19
     stolen and when it is actually misused. According to the GAO, which conducted a study regarding
20
     data breaches:
21
                      [L]aw enforcement officials told us that in some cases, stolen data
22
                      may be held for up to a year or more before being used to commit
                      identity theft. Further, once stolen data have been sold or posted on
23                    the Web, fraudulent use of that information may continue for years.

24
     29
25     See E. Harrell, U.S. Department of Justice, Victims of Identity Theft, 2014 (revised Nov. 13,
     2017), http://www.bjs.gov/content/pub/pdf/vit14.pdf (last visited December 27, 2023).
26   30
       Lisa Vaas, Ransomware Attacks Paralyze, and Sometimes Crush, Hospitals, Naked Security (Oct. 3,
     2019), https://nakedsecurity.sophos.com/2019/10/03/ransomware-attacks-paralyze-and-sometimes-crush-
     hospitals/#content
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                Case 2:23-cv-01998-JLR Document 1 Filed 12/28/23 Page 17 of 52



 1                     As a result, studies that attempt to measure the harm resulting from
                       data breaches cannot necessarily rule out all future harm. 31
 2
              62.      An active and robust legitimate marketplace for PII also exists. In 2019, the data
 3
     brokering industry was worth roughly $200 billion. 32 In fact, the data marketplace is so
 4
     sophisticated that consumers can actually sell their non-public information directly to a data
 5
     broker who in turn aggregates the information and provides it to marketers or app developers. 33,34
 6
     Consumers who agree to provide their web browsing history to the Nielsen Corporation can
 7
     receive up to $50.00 a year. 35
 8
              63.      As a result of the Data Breach, Plaintiffs’ and Class Members’ Private Information
 9
     , which has an inherent market value in both legitimate and dark markets, has been damaged and
10
     diminished by its compromise and unauthorized release. However, this transfer of value occurred
11
     without any consideration paid to Plaintiffs or Class Members for their property, resulting in an
12
     economic loss. Moreover, the Private Information is now readily available, and the rarity of the
13
     Data has been lost, thereby causing additional loss of value.
14

15

16            Defendant Failed to Comply with FTC Guidelines

17            64.      The Federal Trade Commission (“FTC”) has promulgated numerous guides for

18   businesses which highlight the importance of implementing reasonable data security practices.
19
     According to the FTC, the need for data security should be factored into all business decision-
20
     making.
21

22
     31
       See U.S Government Accountability Office Report to Congressional Requesters, Data
23   Breaches are Frequent, but Evidence of Resulting Identity Theft is Limited; However, the Full
     Extent is Unknown (June 2007), http://www.gao.gov/new.items/d07737.pdf (last visited
24   December 27, 2023).
     32
        See Ashiq Ja, Hackers Selling Healthcare Data in the Black Market, InfoSec (July 27, 2015),
25   https://resources.infosecinstitute.com/topic/hackers-selling-healthcare-data-in-the-black-market/ (last visited Sep.
     13, 2022).
26   33
        https://www.latimes.com/business/story/2019-11-05/column-data-brokers
     34
        https://datacoup.com/
     35
        https://digi.me/what-is-digime/
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              Case 2:23-cv-01998-JLR Document 1 Filed 12/28/23 Page 18 of 52



 1          65.     In 2016, the FTC updated its publication, Protecting Personal Information: A
 2
     Guide for Business, which established cyber-security guidelines for businesses. The guidelines
 3
     note that businesses should protect the personal customer information that they keep; properly
 4
     dispose of personal information that is no longer needed; encrypt information stored on computer
 5
     networks; understand their network’s vulnerabilities; and implement policies to correct any
 6
     security problems. 36 The guidelines also recommend that businesses use an intrusion detection
 7

 8   system to expose a breach as soon as it occurs; monitor all incoming traffic for activity indicating

 9   someone is attempting to hack the system; watch for large amounts of data being transmitted from

10   the system; and have a response plan ready in the event of a breach. 37
11
            66.     The FTC further recommends that companies not maintain personally identifiable
12
     information longer than is needed for authorization of a transaction; limit access to sensitive data;
13
     require complex passwords to be used on networks; use industry-tested methods for security;
14
     monitor for suspicious activity on the network; and verify that third-party service providers have
15
     implemented reasonable security measures.
16

17          67.     The FTC has brought enforcement actions against businesses for failing to

18   adequately and reasonably protect customer data, treating the failure to employ reasonable and

19   appropriate measures to protect against unauthorized access to confidential consumer data as an
20
     unfair act or practice prohibited by Section 5 of the Federal Trade Commission Act (“FTCA”),
21
     15 U.S.C. § 45. Orders resulting from these actions further clarify the measures businesses must
22
     take to meet their data security obligations.
23

24

25   36
        See Protecting Personal Information: A Guide for Business, Federal Trade Commission
26   (2016). Available at https://www.bulkorder.ftc.gov/system/files/publications/2_9-
     00006_716a_protectingpersinfo-508.pdf (last visited December 27, 2023).
     37
        Id.
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              Case 2:23-cv-01998-JLR Document 1 Filed 12/28/23 Page 19 of 52



 1          68.     These FTC enforcement actions include actions against healthcare providers like
 2
     Defendant. See, e.g., In the Matter of Labmd, Inc., A Corp, 2016-2 Trade Cas. (CCH) ¶ 79708,
 3
     2016 WL 4128215, at *32 (MSNET July 28, 2016) (“[T]he Commission concludes that LabMD’s
 4
     data security practices were unreasonable and constitute an unfair act or practice in violation of
 5
     Section 5 of the FTC Act.”)
 6
            69.     Defendant failed to properly implement basic data security practices.
 7

 8          70.     Defendant’s failure to employ reasonable and appropriate measures to protect

 9   against and detect unauthorized access to patients’ Personal Information constitutes an unfair act

10   or practice prohibited by Section 5 of the FTC Act, 15 U.S.C. § 45.
11
            71.     Defendant was at all times fully aware of its obligation to protect the Personal
12
     Information of current and former patients. Defendant was also aware of the significant
13
     repercussions that would result from its failure to do so.
14
            Defendant Failed to Comply with Industry Standards
15
            72.     As shown above, experts studying cyber security routinely identify healthcare
16

17   providers as being particularly vulnerable to cyberattacks because of the value of the Personal

18   Information which they collect and maintain.

19          73.     Several best practices have been identified that a minimum should be implemented
20
     by healthcare providers like Defendant, including but not limited to: educating all employees;
21
     strong passwords; multi-layer security, including firewalls, anti-virus, and anti-malware software;
22
     encryption, making data unreadable without a key; multi-factor authentication; backup data, and;
23
     limiting which employees can access sensitive data.
24

25
            74.     Other best cybersecurity practices that are standard in the healthcare industry

26   include installing appropriate malware detection software; monitoring and limiting the network


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 1   ports; protecting web browsers and email management systems; setting up network systems such
 2
     as firewalls, switches and routers; monitoring and protection of physical security systems;
 3
     protection against any possible communication system; training staff regarding critical points.
 4
            75.     Defendant failed to meet the minimum standards of any of the following
 5
     frameworks: the NIST Cybersecurity Framework Version 1.1 (including without limitation
 6
     PR.AC-1, PR.AC-3, PR.AC-4, PR.AC-5, PR.AC-6, PR.AC-7, PR.AT-1, PR.DS-1, PR.DS-5,
 7

 8   PR.PT-1, PR.PT-3, DE.CM-1, DE.CM-4, DE.CM-7, DE.CM-8, and RS.CO-2), and the Center

 9   for Internet Security’s Critical Security Controls (CIS CSC), which are all established standards

10   in reasonable cybersecurity readiness.
11
            76.     These foregoing frameworks are existing and applicable industry standards in the
12
     healthcare industry, and Defendant failed to comply with these accepted standards, thereby
13
     opening the door to the cyber incident and causing the data breach.
14
            Defendant’s Conduct Violates HIPAA and Evidences Its Insufficient Data Security
15
            77.     The Health Insurance Portability and Accountability Act (“HIPAA”) requires
16

17   covered entities to protect against reasonably anticipated threats to the security of sensitive patient

18   health information.

19          78.     Covered entities must implement safeguards to ensure the confidentiality,
20
     integrity, and availability of Personal Information. Safeguards must include physical, technical,
21
     and administrative components.
22
            79.     Title II of HIPAA contains what are known as the Administrative Simplification
23
     provisions. 42 U.S.C. §§ 1301, et seq. These provisions require, among other things, that the
24

25
     Department of Health and Human Services (“HHS”) create rules to streamline the standards for

26   handling Personal Information like the data Defendant left unguarded. The HHS subsequently


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 1   promulgated multiple regulations under authority of the Administrative Simplification provisions
 2
     of HIPAA. These rules include 45 C.F.R. § 164.306(a)(1-4); 45 C.F.R. § 164.312(a)(1); 45 C.F.R.
 3
     § 164.308(a)(1)(i); 45 C.F.R. § 164.308(a)(1)(ii)(D), and 45 C.F.R. § 164.530(b).
 4
            80.     A data breach such as the one Defendant experienced, is considered a breach under
 5
     the HIPAA Rules because there is an access of private health information (“PHI”) not permitted
 6
     under the HIPAA Privacy Rule:
 7

 8                  A breach under the HIPAA Rules is defined as, “the acquisition, access,
                    use, or disclosure of PHI in a manner not permitted under the [HIPAA
 9                  Privacy Rule] which compromises the security or privacy of the PHI.” See
                    45 C.F.R. 164.40.
10
            81.     Defendant’s Data Breach resulted from a combination of insufficiencies that
11
     demonstrate Defendant failed to comply with safeguards mandated by HIPAA regulations.
12
                                 V.      CLASS ACTION ALLEGATIONS
13
            82.     Class Definition. Under Fed. R. Civ. P. 23, Plaintiffs bring this case as a class
14
     action against Defendant on behalf of the Class preliminarily defined as follows:
15
                    All individuals in the United States whose Personal Information was
16
                    compromised in the Data Breach disclosed by Defendant that
17                  occurred in or around November 2023 (the “Nationwide Class”).
            83.     Excluded from the Class are the following: Defendant and Defendant’s parents,
18
     subsidiaries, affiliates, officers, and directors, and any judge to whom this case is assigned, as
19
     well as his or her staff and immediate family.
20
            84.     In the alternative, and pursuant to Fed. R. Civ. P. 23, Plaintiffs bring this case as a
21
     class action against Defendant on behalf of a subclass preliminarily defined as follows:
22
                    All individuals who reside in the state of Washington whose
23                  Personal Information was compromised in the Data Breach
                    disclosed by Defendant that occurred in or around November 2023
24
                    (the “Washington Subclass”).
25

26



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 1          85.     Excluded from the Washington Subclass are the following: Defendant and
 2   Defendant’s parents, subsidiaries, affiliates, officers, and directors, and any judge to whom this
 3   case is assigned, as well as his or her staff and immediate family.
 4          86.     The Nationwide Class and the Washington Subclass shall be collectively known
 5   as the “Class” unless otherwise specified.
 6          87.     Plaintiffs reserve the right to amend the Class definition.
 7          88.     Numerosity. Upon information and belief, the Class is so numerous that joinder of
 8   all members is impracticable. Reports suggest that the number of affected individuals may be as
 9   high as 800,000. 38 The exact number and identities of individual members of the Class are
10   unknown at this time, such information being in the sole possession of Defendant and obtainable
11   by Plaintiffs only through the discovery process. The Class Members will be identifiable through
12   information and records in Defendant’s possession, custody, and control.
13          89.     Existence and Predominance of Common Questions of Fact and Law: Common
14   questions of law and fact exist as to all Class Members. These questions predominate over the
15   questions affecting individual Class Members. These common legal and factual questions include,
16   but are not limited to:
17                      a. When Defendant learned of the Data Breach;
18                      b. Whether cybercriminals obtained Class Members’ Personal Information in
19                             the Data Breach;
20                      c. Whether Defendant’s response to the Data Breach was adequate;
21                      d. Whether Defendant failed to implement and maintain reasonable security
22                             procedures and practices appropriate to the nature and scope of the
23                             Personal Information compromised in the Data Breach;
24

25
     38
26     See Kate Walters, Hundreds of patients receive threatening emails after Fred Hutch
     cyberattack, KUOW (Dec. 6, 2023), https://www.kuow.org/stories/hundreds-of-patients-receive-
     threatening-emails-after-fred-hutch-cyberattack (last visited December 27, 2023).
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            Case 2:23-cv-01998-JLR Document 1 Filed 12/28/23 Page 23 of 52



 1                  e. Whether Defendant’s data security systems prior to and during the Data
 2                     Breach complied with applicable data security laws and regulations,
 3                     industry standards, and/or its own promises and representations;
 4                  f. Whether Defendant knew or should have known that its data security
 5                     systems and monitoring processes were deficient;
 6                  g. Whether Defendant owed a duty to Class Members to safeguard their
 7                     Personal Information;
 8                  h. Whether Defendant breached its duty to Class Members to safeguard their
 9                     Personal Information;
10                  i. Whether Defendant had a legal duty to provide timely and accurate notice
11                     of the Data Breach to Plaintiffs and the Class Members;
12                  j. Whether Defendant breached its duty to provide timely and accurate notice
13                     of the Data Breach to Plaintiffs and Class Members;
14                  k. Whether Defendant’s conduct violated the FTCA, HIPAA, and/or the
15                     Consumer Protection Act invoked herein;
16                  l. Whether Defendant’s conduct was negligent;
17                  m. Whether Defendant was unjustly enriched;
18                  n. What damages Plaintiffs and Class Members suffered as a result of
19                     Defendant’s misconduct;
20                  o. Whether Plaintiffs and Class Members are entitled to actual and/or
21                     statutory damages;
22                  p. Whether Plaintiffs and Class Members are entitled to additional credit or
23                     identity monitoring and monetary relief; and
24                  q. Whether Plaintiffs and Class Members are entitled to equitable relief,
25                     including injunctive relief, restitution, disgorgement, and/or the
26                     establishment of a constructive trust;


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              Case 2:23-cv-01998-JLR Document 1 Filed 12/28/23 Page 24 of 52



 1          90.     Typicality. All of Plaintiffs’ claims are typical of the claims of Class Members.
 2   Upon information and belief, Plaintiffs and Class Members had their Personal Information
 3   compromised in the Data Breach. Plaintiffs’ claims and damages are also typical of the Class
 4   because they resulted from Defendant’s uniform wrongful conduct. Likewise, the relief to which
 5   Plaintiffs are entitled to is typical of the Class because Defendant has acted, and refused to act,
 6   on grounds generally applicable to the Class.
 7          91.     Adequacy. Plaintiffs are adequate class representatives because their interests do
 8   not materially or irreconcilably conflict with the interests of the Class Members they seek to
 9   represent, they retained counsel competent and highly experienced in complex class action
10   litigation, and they intend to prosecute this action vigorously. Plaintiffs and their counsel will
11   fairly and adequately protect the interests of Class Members. Neither Plaintiffs nor their counsel
12   have any interests that are antagonistic to the interests of other Class Members.
13          92.     Superiority: Compared to all other available means of fair and efficient
14   adjudication of the claims of Plaintiffs and Class Members, a class action is the most superior.
15   The injury suffered by each individual Class Member is relatively small in comparison to the
16   burden and expense of individual prosecution of the complex and extensive litigation necessitated
17   by Defendant’s conduct. It would be virtually impossible for Class Members individually to
18   effectively redress the wrongs done to them. Even if the Class Members could afford such
19   individual litigation, the court system could not. Individualized litigation presents a potential for
20   inconsistent or contradictory judgments. Individualized litigation increases the delay and expense
21   to all parties and to the court system presented by the complex legal and factual issues of the case.
22   By contrast, the class action device presents far fewer management difficulties, and provides the
23   benefits of single adjudication, economy of scale, and comprehensive supervision by a single
24   court. Class Members can be readily identified and notified based on Defendant’s records and
25   databases.
26                                    VI.     CAUSES OF ACTION


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                Case 2:23-cv-01998-JLR Document 1 Filed 12/28/23 Page 25 of 52



 1                                                    COUNT I
                                                  NEGLIGENCE
 2
                     Claim of Relief for Plaintiffs and Class Members and Against Defendant
 3             93.      Plaintiffs incorporate by reference all foregoing factual allegations.

 4             94.      Defendant collected and transferred Personal Information from Plaintiffs and

 5   Class Members and had a corresponding duty to protect such information from unauthorized

 6   access.

 7             95.      Defendant failed to inform Plaintiffs and Class Members that its systems were

 8   inadequate to safeguard sensitive Personal Information and that transferring Personal Information

 9   could lead to cybercriminals gaining access to sensitive Personal Information.

10             96.      The sensitive nature of the Personal Information and economic value of it to

11   hackers necessitated security practices and procedures sufficient to prevent unauthorized access

12   to the Personal Information.

13             97.      Defendant failed to implement and maintain adequate security practices and

14   procedures to prevent the Data Breach.

15             98.      Defendant likewise failed to test, update, and patch (including curing known

16   vulnerabilities) its systems as necessary.

17             99.      It was reasonably foreseeable to Defendant that its failure to implement and

18   maintain reasonable security procedures and practices would leave the sensitive Personal

19   Information in its systems vulnerable to breach and could thus expose the owners of that

20   information to harm.

21             100.     Furthermore, given the known risk of major data breaches, including the 2021

22   breach of the Washington State Auditor’s Office, Plaintiffs and Class Members are part of a well-

23   defined, foreseeable, finite, and discernible group that was at high risk of having their Personal

24   Information stolen.

25             101.     Defendant’s duty of care arose as a result of its knowledge that individuals trusted

26   Defendant to protect their confidential data that they provided to it. Only Defendant was in a


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              Case 2:23-cv-01998-JLR Document 1 Filed 12/28/23 Page 26 of 52



 1   position to ensure that its own protocols were sufficient to protect against the harm to Plaintiffs
 2   and Class Members from a data breach of its own systems.
 3          102.       Defendant also had a duty to use reasonable care in protecting confidential data
 4   because it committed to comply with industry standards for the protection of Personal Information
 5   and committed to the public to protect the privacy of information the public provided Defendant.
 6          103.       Defendant knew, or should have known, of the vulnerabilities in its security
 7   practices and procedures, and the importance of adequate security to patients and the owners of
 8   sensitive data.
 9          104.       Plaintiffs and Class Members have suffered harm as a result of Defendant’s
10   negligence. These victims suffered diminished value of their sensitive Personal Information.
11   Plaintiffs and Class Members also lost control over the Personal Information exposed, which
12   subjected each of them to a greatly enhanced risk of identity theft, medical identity theft, credit
13   and bank fraud, Social Security fraud, tax fraud, and myriad other types of fraud and theft, in
14   addition to the time and expenses spent mitigating those injuries and preventing further injury.
15                                              COUNT II
                                         NEGLIGENCE PER SE
16
                Claim of Relief for Plaintiffs and Class Members and Against Defendant
17
            105.       Plaintiffs incorporate by reference all foregoing factual allegations.
18
            106.       Pursuant to Section 5 of the Federal Trade Commission Act (“FTCA”), 15 U.S.C.
19
     § 45, Defendant had a duty to provide fair and adequate computer systems and data security to
20

21   safeguard the Personal Information of Plaintiffs and Class Members.

22          107.       The FTCA prohibits “unfair . . . practices in or affecting commerce,” including, as

23   interpreted and enforced by the FTC, the unfair act or practice by businesses, such as Defendant,
24
     of failing to use reasonable measures to protect personal information. The FTC publications and
25
     orders described above also form part of the basis of Defendant’s duty in this regard.
26



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              Case 2:23-cv-01998-JLR Document 1 Filed 12/28/23 Page 27 of 52



 1          108.    Defendant violated Section 5 of the FTC Act by failing to use reasonable measures
 2
     to protect Personal Information and not complying with applicable industry standards.
 3
     Defendant’s conduct was particularly unreasonable given the nature and amount of Personal
 4
     Information it obtained and stored, and the foreseeable consequences of the Data Breach for
 5
     companies of Defendant’s magnitude, including, specifically, the immense damages that would
 6
     result to Plaintiffs and Class Members due to the valuable nature of the Personal Information at
 7

 8   issue in this case—including Social Security numbers and medical history information.

 9          109.    Defendant’s violations of Section 5 of the FTC Act constitute negligence per se.

10          110.    Plaintiffs and Class Members are within the class of persons that the FTC Act was
11
     intended to protect.
12
            111.    The harm that occurred as a result of the Data Breach is the type of harm the FTC
13
     Act was intended to guard against. The FTC has pursued enforcement actions against businesses,
14
     which, as a result of their failure to employ reasonable data security measures and avoid unfair
15
     and deceptive practices, caused the same harm as that suffered by Plaintiffs and Class Members.
16

17          112.    As a direct and proximate result of Defendant’s negligence per se, Plaintiffs and

18   Class Members have suffered and will suffer injury, including but not limited to: (i) actual identity

19   theft; (ii) the loss of the opportunity to determine how their Personal Information is used; (iii) the
20
     compromise, publication, and/or theft of their Personal Information; (iv) out-of-pocket expenses
21
     associated with the prevention, detection, and recovery from identity theft, tax fraud, and/or
22
     unauthorized use of their Personal Information; (v) lost opportunity costs associated with effort
23
     expended and the loss of productivity addressing and attempting to mitigate the actual and future
24

25
     consequences of the Data Breach, including but not limited to efforts spent researching how to

26   prevent, detect, contest, and recover from tax fraud and identity theft; (vi) costs associated with


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                 Case 2:23-cv-01998-JLR Document 1 Filed 12/28/23 Page 28 of 52



 1   placing freezes on credit reports; (vii) the continued risk to their Personal Information, which
 2
     remains in Defendant’s possession and is subject to further unauthorized disclosures so long as
 3
     Defendant fails to undertake appropriate and adequate measures to protect the Personal
 4
     Information of current and former patients in their continued possession; and (viii) future costs in
 5
     terms of time, effort, and money that will be expended to prevent, detect, contest, and repair the
 6
     impact of the Personal Information compromised as a result of the Data Breach for the remainder
 7

 8   of the lives of Plaintiffs and Class Members.

 9          113.     Additionally, as a direct and proximate result of Defendant’s negligence per se,

10   Plaintiffs and Class Members have suffered and will suffer the continued risks of exposure of
11
     their Personal Information, which remains in Defendant’s possession and is subject to further
12
     unauthorized disclosures so long as Defendant fails to undertake appropriate and adequate
13
     measures to protect the Personal Information in its continued possession.
14
                                                  COUNT III
15                                 BREACH OF IMPLIED CONTRACT
                  Claim of Relief for Plaintiffs and Class Members and Against Defendant
16

17          114.     Plaintiffs incorporate by reference all foregoing factual allegations.
18          115.     Plaintiffs’ and Class Members’ Personal Information was provided to Defendant as
19
     part of medical services that Defendant provided to Plaintiffs and Class Members.
20
            116.     Plaintiffs and Class Members agreed to pay Defendant for medical care and
21
     services.
22
            117.     Defendant and the Plaintiffs and Class Members entered into implied contracts for
23

24
     the provision of adequate data security, separate and apart from any express contracts concerning

25   the security of Plaintiffs’ and Class Members’ Personal Information, whereby, Defendant was

26



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              Case 2:23-cv-01998-JLR Document 1 Filed 12/28/23 Page 29 of 52



 1   obligated to take reasonable steps to secure and safeguard Plaintiffs’ and Class Members’ Personal
 2
     Information.
 3
            118.    Defendant had an implied duty of good faith to ensure that the Personal Information
 4
     of Plaintiffs and Class Members in their possession was only used in accordance with its
 5
     contractual obligations.
 6
            119.    Defendant was therefore required to act fairly, reasonably, and in good faith in
 7

 8   carrying out its contractual obligations to protect the confidentiality of Plaintiffs’ and Class

 9   Members’ Personal Information and to comply with industry standards and applicable laws and

10   regulations for the security of this information.
11
            120.    Under these implied contracts for data security, Defendant was further obligated to
12
     provide Plaintiffs and all Class Members, with prompt and sufficient notice of any and all
13
     unauthorized access and/or theft of their Personal Information.
14
            121.    Defendant breached the implied contracts by failing to take adequate measures to
15
     protect the confidentiality of Plaintiffs’ and Class Members’ Personal Information, resulting in the
16

17   Data Breach.

18          122.    Defendant further breached the implied contract by providing untimely notification

19   to Plaintiffs and Class Members who may already be victims of identity fraud or theft or are at
20
     present risk of becoming victims of identity theft or fraud. Indeed, Defendant noted that Class
21
     Members have been receiving threatening ransom demand emails as a result of the Data Breach
22
     (as detailed supra).
23
            123.    The Data Breach was a reasonably foreseeable consequence of Defendant’s actions
24

25
     in breach of these contracts.

26



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 1           124.    As a result of Defendant’s conduct, Plaintiffs and Class Members did not receive
 2
     the full benefit of the bargain.
 3
             125.    Had Defendant disclosed that its data security was inadequate, neither the Plaintiffs
 4
     or Class Members, nor any reasonable person would have entered into such contracts with
 5
     Defendant.
 6
             126.    As a result of Data Breach, Plaintiffs and Class Members suffered actual damages
 7

 8   resulting from the theft of their Personal Information, as well as the loss of control of their Personal

 9   Information, and remain at present risk of suffering additional damages.

10           127.    Plaintiffs and Class Members are entitled to compensatory, consequential, and
11
     nominal damages suffered as a result of the Data Breach, including the loss of the benefit of the
12
     bargain.
13
             128.    Plaintiffs and Class Members are also entitled to injunctive relief requiring
14
     Defendant to, e.g., (i) strengthen its data security systems and monitoring procedures; (ii) submit
15
     to future annual audits of those systems and monitoring procedures; and (iii) immediately provide
16

17   adequate lifetime credit monitoring to all Class Members.

18                                               COUNT IV
                                        INVASION OF PRIVACY
19               Claim of Relief for Plaintiffs and Class Members and Against Defendant
20           129.    Plaintiffs incorporate by reference all foregoing factual allegations.
21           130.    Plaintiffs and Class Members had a legitimate expectation of privacy regarding
22   their highly sensitive and confidential Personal Information and were accordingly entitled to the
23   protection of this information against disclosure to unauthorized third parties.
24           131.    Defendant owed a duty to their current and former patients, including Plaintiffs
25   and Class Members, to keep this information confidential.
26



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              Case 2:23-cv-01998-JLR Document 1 Filed 12/28/23 Page 31 of 52



 1          132.      The unauthorized acquisition (i.e., theft) by a third party of Plaintiffs’ and Class
 2   Members’ Personal Information is highly offensive to a reasonable person.
 3          133.      The intrusion was into a place or thing which was private and entitled to be private.
 4   Plaintiffs and Class Members disclosed their sensitive and confidential information to Defendant,
 5   but did so privately, with the intention that their Personal Information would be kept confidential
 6   and protected from unauthorized disclosure. Plaintiffs and Class Members were reasonable in
 7   their belief that such information would be kept private and would not be disclosed without their
 8   authorization.
 9          134.      The Data Breach constitutes an intentional interference with Plaintiffs’ and Class
10   Member’s interest in solitude or seclusion, either as to their person or as to their private affairs or
11   concerns, of a kind that would be highly offensive to a reasonable person.
12          135.      Defendant acted with a knowing state of mind when it permitted the Data Breach
13   because they knew its information security practices were inadequate.
14          136.      Defendant acted with a knowing state of mind when it failed to notify Plaintiffs
15   and Class Members in a timely fashion about the Data Breach, thereby materially impairing their
16   mitigation efforts.
17          137.      Acting with knowledge, Defendant had notice and knew that its inadequate
18   cybersecurity practices would cause injury to Plaintiffs and Class Members.
19          138.      As a proximate result of Defendant’s acts and omissions, the private and sensitive
20   Personal Information of Plaintiffs and Class Members were stolen by a third party and is now
21   available for disclosure and redisclosure without authorization, causing Plaintiffs and Class
22   Members to suffer damages (as detailed supra).
23          139.      Furthermore, on information and belief, Plaintiffs’ and Class Members’ Personal
24   Information has already been published—or will be published imminently—by cybercriminals
25   on the dark web.
26



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 1          140.    Unless and until enjoined and restrained by order of this Court, Defendant’s
 2   wrongful conduct will continue to cause great and irreparable injury to Plaintiffs and Class
 3   Members since their Personal are still maintained by Defendant with its inadequate cybersecurity
 4   system and policies.
 5          141.    Plaintiffs and Class Members have no adequate remedy at law for the injuries
 6   relating to Defendant’s continued possession of their sensitive and confidential records. A
 7   judgment for monetary damages will not end Defendant’s inability to safeguard the Personal
 8   Information of Plaintiffs and Class Members.
 9          142.    In addition to injunctive relief, Plaintiffs, on behalf of themselves and the other
10   Class Members, also seeks compensatory damages for Defendant’s invasion of privacy, which
11   includes the value of the privacy interest invaded by Defendant, the costs of future monitoring of
12   their credit history for identity theft and fraud, plus prejudgment interest and costs.
13                                               COUNT V
                                        UNJUST ENRICHMENT
14
                Claim of Relief for Plaintiffs and Class Members and Against Defendant
15          143.    Plaintiffs incorporate by reference all foregoing factual allegations.
16
            144.    This claim is pleaded in the alternative to the breach of implied contract claim.
17          145.    Plaintiffs and Class Members conferred a benefit upon Defendant. Defendant
18
     benefitted from using its payment and Personal Information to provide medical services.
19   Furthermore, Defendant benefitted from using their Personal Information to collect payment.
20
            146.    Defendant appreciated or had knowledge of the benefits it received from Plaintiffs
21   and Class Members (or its third-party agents). Furthermore, Defendant benefited from receiving
22
     Plaintiffs’ and Class Members’ payment and Personal Information, as they were used to provide
23   medical services.
24
            147.    Plaintiffs and Class Members reasonably understood that Defendant would use
25   adequate cybersecurity measures to protect the Personal Information that they were required to
26
     provide based on Defendant’s duties under state and federal law and its internal policies.


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              Case 2:23-cv-01998-JLR Document 1 Filed 12/28/23 Page 33 of 52



 1          148.    Defendant enriched itself by saving the costs it reasonably should have expended
 2   on data security measures to secure Plaintiffs’ and Class Members’ Personal Information.
 3          149.    Instead of providing a reasonable level of security, or retention policies, that would
 4   have prevented the Data Breach, Defendant instead calculated to avoid its data security
 5   obligations at the expense of Plaintiffs and Class Members by utilizing cheaper, ineffective
 6   security measures. Plaintiffs and Class Members, on the other hand, suffered as a direct and
 7   proximate result of Defendant’s failure to provide the requisite security.
 8          150.    Under principles of equity and good conscience, Defendant should not be
 9   permitted to retain the full value of Plaintiffs’ and Class Members’ Personal Information and
10   payment because Defendant failed to adequately protect their Personal Information.
11          151.    Plaintiffs and Class Members have no adequate remedy at law.
12          152.    Defendant should be compelled to disgorge into a common fund—for the benefit
13   of Plaintiffs and Class Members—all unlawful or inequitable proceeds that it received because of
14   its misconduct.
15                                            COUNT VI
           VIOLATION OF WASHINGTON CONSUMER PROTECTION ACT (CPA)
16
                                         RCW 19.86.020, et seq.
17
       Claim of Relief for Plaintiffs and Washington Subclass Members and Against Defendant

18
            153.    Plaintiffs incorporate by reference all foregoing factual allegations.

19
            154.    The Washington State Consumer Protection Act, RCW 19.86.020 (the “CPA”)

20   prohibits any “unfair or deceptive acts or practices” in the conduct of any trade or commerce as

21   those terms are described by the CPA and relevant case law.
22          155.    Defendant is a “person” as described in RWC 19.86.010(1).
23
            156.    Defendant engaged in “trade” and “commerce” as described in RCW 19.86.010(2)
24
     in that it engages in the sale of services and commerce directly and indirectly affecting the people
25
     of the State of Washington.
26



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              Case 2:23-cv-01998-JLR Document 1 Filed 12/28/23 Page 34 of 52



 1          157.    By virtue of the above-described wrongful actions, inaction, omissions, and want
 2
     of ordinary care that directly and proximately caused the Data Breach, Defendant engaged in
 3
     unlawful, unfair and fraudulent practices within the meaning, and in violation of, the CPA, in that
 4
     Defendant’s practices were injurious to the public interest because they injured other persons, had
 5
     the capacity to injure other persons, and have the capacity to injure other persons.
 6
            158.    In the course of conducting its businesses, Defendant committed “unfair or
 7

 8   deceptive acts or practices” by, among other things, knowingly failing to ensure the safeguarding

 9   and protection of Plaintiffs’ and Washington Subclass Members’ Personal Information by the

10   entities to whom it provided that Personal Information, and by violating the common law alleged
11
     herein in the process. Plaintiffs and Washington Subclass Members reserve the right to allege
12
     other violations of law by Defendant constituting other unlawful business acts or practices. As
13
     described above, Defendant’s wrongful actions, inaction, omissions, and want of ordinary care
14
     are ongoing and continue to this date.
15
            159.    Defendant also violated the CPA by concealing from Plaintiffs and Washington
16

17   Subclass Members information regarding the unauthorized release and disclosure of their

18   Personal Information. If Plaintiffs and Washington Subclass Members had been notified in an

19   appropriate fashion, and had the information not been hidden from them, they could have taken
20
     precautions to safeguard and protect their Personal Information and identities.
21
            160.    Defendant’s above-described wrongful actions, inaction, omissions, want of
22
     ordinary care, misrepresentations, practices, and non-disclosures also constitute “unfair or
23
     deceptive acts or practices” in violation of the CPA in that Defendant’s wrongful conduct is
24

25
     substantially injurious to other persons, had the capacity to injure other persons, and has the

26   capacity to injure other persons.


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              Case 2:23-cv-01998-JLR Document 1 Filed 12/28/23 Page 35 of 52



 1          161.    The gravity of Defendant’s wrongful conduct outweighs any alleged benefits
 2
     attributable to such conduct. There were reasonably available alternatives to further Defendant’s
 3
     legitimate business interests other than engaging in the above-described wrongful conduct.
 4
            162.    As a direct and proximate result of Defendant’s above-described wrongful actions,
 5
     inaction, omissions, and want of ordinary care that directly and proximately caused the Data
 6
     Breach and its violations of the CPA, Plaintiffs and Washington Subclass Members have suffered,
 7

 8   and will continue to suffer, economic damages and other injury and actual harm in the form of,

 9   among other things, (1) a present and imminent, immediate and the continuing increased risk of

10   identity theft and identity fraud—risks justifying expenditures for protective and remedial
11
     services for which they are entitled to compensation; (2) invasion of privacy; (3) breach of the
12
     confidentiality of their Personal Information; (4) deprivation of the value of their Personal
13
     Information, for which there is a well-established national and international market; and/or (5)
14
     the financial and temporal cost of monitoring credit, monitoring financial accounts, and
15
     mitigating damages.
16

17          163.    Unless restrained and enjoined, Defendant will continue to engage in the above-

18   described wrongful conduct and more data breaches will occur. Plaintiffs, therefore, on behalf of

19   themselves and Washington Subclass Members, seek restitution and an injunction prohibiting
20
     Defendant from continuing such wrongful conduct, and requiring Defendant to ensure the
21
     safeguarding and protection of Plaintiffs’ and Washington Subclass Members’ Personal
22
     Information by the entities to whom they provide that Personal Information.
23
            164.    Plaintiffs, on behalf of themselves and Washington Subclass Members, also seek
24

25
     to recover actual damages sustained by each Washington Subclass Member together with the

26   costs of the suit, including reasonable attorneys’ fees. In addition, Plaintiffs, on behalf of


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              Case 2:23-cv-01998-JLR Document 1 Filed 12/28/23 Page 36 of 52



 1   themselves and Washington Subclass Members, requests that this Court use its discretion,
 2
     pursuant to RCW 19.86.090, to increase the damages award for each Washington Subclass
 3
     Members by three times the actual damages sustained, not to exceed $25,000.00 per Washington
 4
     Subclass Member.
 5
                                             COUNT VII
 6          VIOLATION OF WASHINGTON DATA BREACH DISCLOSURE LAW
                                        RCW 19.255.005, et seq.
 7
       Claim of Relief for Plaintiffs and Washington Subclass Members and Against Defendant
 8
            165.     Plaintiffs incorporate by reference all foregoing factual allegations.
 9
            166.     Under RCW § 19.255.010(2), “[a]ny person or business that maintains
10
     computerized data that includes personal information that the person or business does not own
11

12   shall notify the owner or licensee of the information of any breach of the security of the data

13   immediately following discovery, if the personal information was, or is reasonably believed to

14   have been, acquired by an unauthorized person.”
15          167.     Upon information and belief, this statute applies to Defendant because Defendant
16
     does not own nor license the Personal Information in question. Instead, the owners and/or
17
     licensees of the Personal Information are Plaintiffs and Washington Subclass Members.
18
            168.     Here, the Data Breach led to “unauthorized acquisition of computerized data that
19
     compromise[d] the security, confidentiality, [and] integrity of personal information maintained
20

21   by” Defendant, leading to a “breach of the security of [Defendant’s] systems,” as defined by RCW

22   § 19.255.010.

23          169.     Defendant failed to disclose that the Personal Information, of Plaintiffs and
24
     Washington Subclass Members, that had been compromised “immediately” upon discovery, and
25
     thus unreasonably delayed informing Plaintiffs and Washington Subclass Members about the
26
     Data Breach.

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              Case 2:23-cv-01998-JLR Document 1 Filed 12/28/23 Page 37 of 52



 1          170.    In fact, Defendant appears to have delayed notifying its current and former patients
 2
     until December 2023, almost a full month after the Data Breach.
 3
            171.    Thus, Defendant violated the Washington Data Breach Disclosure Law.
 4
                                            COUNT VIII
 5    VIOLATION OF WASHINGTON UNIFORM HEALTH CARE INFORMATION ACT
                                              (UHCIA)
 6                                      RCW 70.02.005, et seq.
      Claim of Relief for Plaintiffs and Washington Subclass Members and Against Defendant
 7

 8          172.    Plaintiffs incorporate by reference all foregoing factual allegations.

 9          173.    The UHCIA declares that:

10                      r. “Health care information is personal and sensitive information that if

11                          improperly used or released may do significant harm to a patient’s interests

12                          in privacy, health care, or other interests.” § 70.02.005(1).

13                      s. “In order to retain the full trust and confidence of patients, health care

14                          providers have an interest in assuring that health care information is not

15                          improperly disclosed and in having clear and certain rules for the

16                          disclosure of health care information.” § 70.02.005(3).

17                      t. “It is the public policy of this state that a patient’s interest in the proper use

18                          and disclosure of the patient’s health care information survives even when

19                          the information is held by persons other than health care providers.” §

20                          70.02.005(4).

21          174.    Here, Defendant is a “health care provider” because Defendant is “licensed,

22   certified, registered, or otherwise authorized by the law of this state to provide health care in the

23   ordinary course of business or practice of a profession.” § 70.02.010(19).

24          175.    Under § 70.02.020, “a health care provider, an individual who assists a health care

25   provider in the delivery of health care, or an agent and employee of a health care provider may

26   not disclose health care information about a patient to any other person without the patient's

     written authorization.”
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              Case 2:23-cv-01998-JLR Document 1 Filed 12/28/23 Page 38 of 52



 1          176.      Here, Defendant violated UHCIA because Defendant, via the Data Breach,
 2   disclosed health care information of Plaintiffs and Washington Subclass Members to third parties
 3   without patient authorization.
 4                                        VII.   PRAYER FOR RELIEF
 5          Plaintiffs, individually and on behalf of Class Members, request that the Court enter
 6   judgment against Defendant as follows:
 7          A.            An order certifying the proposed Class pursuant to Fed. R. Civ. P. 23 and
 8   appointing Plaintiffs and their counsel to represent the Class;
 9          B.        An order awarding Plaintiffs and Class Members monetary relief, including actual
10   damages and penalties;
11          C.        An order awarding injunctive relief requested by Plaintiffs, including, but not
12   limited to, injunctive and other equitable relief as necessary to protect the interests of Plaintiffs
13   and Class Members, including, but not limited to, an order:
14                   i.      Prohibiting Defendant from engaging in the wrongful and unlawful acts
15                           described herein;
16                  ii.      Requiring Defendant to protect, including through encryption, all data
17                           collected through the course of its businesses in accordance with all applicable
18                           regulations, industry standards, and state or local laws;
19                 iii.      Requiring Defendant to delete, destroy, and purge the Personal Information of
20                           Plaintiffs and Class Members unless Defendant can provide to the Court
21                           reasonable justification for the retention and use of such information when
22                           weighed against the privacy interests of Plaintiffs and Class Members;
23                 iv.       Requiring Defendant to implement and maintain comprehensive Information
24                           Security Programs designed to protect the confidentiality and integrity of the
25                           Personal Information of Plaintiffs and Class Members;
26



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            Case 2:23-cv-01998-JLR Document 1 Filed 12/28/23 Page 39 of 52



 1             v.    Prohibiting Defendant from maintaining the Personal Information of Plaintiffs
 2                   and Class Members on a cloud-based database;
 3            vi.    Requiring    Defendant    to   engage    independent     third-party    security
 4                   auditors/penetration testers as well as internal security personnel to conduct
 5                   testing, including simulated attacks, penetration tests, and audits on
 6                   Defendant’s systems on a periodic basis, and ordering Defendant to promptly
 7                   correct any problems or issues detected by such third-party security auditors;
 8            vii.   Requiring Defendant to engage independent third-party security auditors and
 9                   internal personnel to run automated security monitoring;
10           viii.   Requiring Defendant to audit, test, and train its security personnel regarding
11                   any new or modified procedures;
12            ix.    Requiring Defendant to segment data by, among other things, creating
13                   firewalls and access controls so that if one area of Defendant’s network is
14                   compromised, hackers cannot gain access to other portions of Defendant’s
15                   systems;
16             x.    Requiring Defendant to conduct regular database scanning and securing
17                   checks;
18            xi.    Requiring Defendant to establish an information security training program that
19                   includes at least annual information security training for all employees, with
20                   additional training to be provided as appropriate based upon the employees’
21                   respective responsibilities with handling Personal Information, as well as
22                   protecting the Personal Information of Plaintiffs and Class Members;
23            xii.   Requiring Defendant to routinely and continually conduct internal training and
24                   education, and, on an annual basis, to inform internal security personnel how
25                   to identify and contain a breach when it occurs and what to do in response to a
26                   breach;


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             Case 2:23-cv-01998-JLR Document 1 Filed 12/28/23 Page 40 of 52



 1               xiii.   Requiring Defendant to implement a system of tests to assess its respective
 2                       employees’ knowledge of the education programs discussed in the preceding
 3                       subparagraphs, as well as randomly and periodically testing employees’
 4                       compliance with Defendant’s policies, programs, and systems for protecting
 5                       Personal Information;
 6               xiv.    Requiring Defendant to implement, maintain, regularly review, and revise as
 7                       necessary a threat management program designed to appropriately monitor
 8                       Defendant’s information networks for threats, both internal and external, and
 9                       assess whether monitoring tools are appropriately configured, tested, and
10                       updated;
11                xv.    Requiring Defendant to meaningfully educate all Class Members about the
12                       threats that they face as a result of the loss of their confidential Personal
13                       Information to third parties, as well as the steps affected individuals must take
14                       to protect themselves;
15               xvi.    Requiring Defendant to implement logging and monitoring programs
16                       sufficient to track traffic to and from Defendant’s servers; and
17               xvii.   For a period of 10 years, appointing a qualified and independent third-party
18                       assessor to conduct a SOC 2 Type 2 attestation on an annual basis to evaluate
19                       Defendant’s compliance with the terms of the Court’s final judgment, to
20                       provide such report to the Court and to counsel for the Class, and to report any
21                       deficiencies with compliance of the Court’s final judgment;
22          D.       Ordering Defendant to pay for a lifetime of credit monitoring services for Plaintiffs
23   and Class Members;
24          E.       An award of damages, including actual, nominal, statutory, consequential, and
25   punitive damages, as allowed by law;
26          F.       An award of attorney’s fees, costs, and expenses, as permitted by law;


      CLASS ACTION COMPLAINT - 40                                    EMERY | REDDY, PLLC
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                                                                         Seattle, WA 98101
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                Case 2:23-cv-01998-JLR Document 1 Filed 12/28/23 Page 41 of 52



 1         G.       An award of pre-judgment and post-judgment interest, as permitted by law;
 2         H.       Leave to amend this Complaint to conform to the evidence produced at trial; and
 3         I.       Such other and further relief as this Court may deem just and proper.
 4

 5   DATED this 28th day of December 2023.                       Respectfully Submitted,
 6
                                                     By: /s/ Timothy W. Emery
 7                                                   By: /s/ Patrick B. Reddy
 8
                                                        TIMOTHY W. EMERY
                                                        WSBA No. 34078
 9                                                      PATRICK B. REDDY
                                                        WSBA No. 34092
10                                                      EMERY REDDY, PLLC
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                                                         M. Anderson Berry*
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22                                                       Gary M. Klinger
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23                                                       PHILLIPS GROSSMAN, PLLC
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            Case 2:23-cv-01998-JLR Document 1 Filed 12/28/23 Page 42 of 52



 1                                           John J. Nelson*
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                                             Counsel for Plaintiffs and the Putative Class
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     CLASS ACTION COMPLAINT - 42                       EMERY | REDDY, PLLC
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Case 2:23-cv-01998-JLR Document 1 Filed 12/28/23 Page 43 of 52




                   Exhibit A
Case 2:23-cv-01998-JLR Document 1 Filed 12/28/23 Page 44 of 52
Case 2:23-cv-01998-JLR Document 1 Filed 12/28/23 Page 45 of 52
Case 2:23-cv-01998-JLR Document 1 Filed 12/28/23 Page 46 of 52
Case 2:23-cv-01998-JLR Document 1 Filed 12/28/23 Page 47 of 52




                   Exhibit B
Case 2:23-cv-01998-JLR Document 1 Filed 12/28/23 Page 48 of 52
Case 2:23-cv-01998-JLR Document 1 Filed 12/28/23 Page 49 of 52
        Case 2:23-cv-01998-JLR Document 1 Filed 12/28/23 Page 50 of 52


From:           Gloria Moncrief




UW Medicine
Dear Valued Patient,
This message is to make you aware that Fred Hutchinson Cancer Center recently experienced
a cybersecurity incident. We are close partners with Fred Hutch Cancer Center; Fred Hutch
serves as UW Medicine’s cancer program and we advance cancer research together through
the Fred Hutch/University of Washington/Seattle Children’s Cancer Consortium. As a result
of our work with Fred Hutch, the cybersecurity incident experienced on Fred Hutch systems
impacted data for some UW Medicine patients who have not been seen at Fred Hutch.
Some patients have received an email from the cyber-criminals and we are sorry if you
received one. Unfortunately, this is a common tactic they use and law enforcement has been
notified of these messages. If you receive a message demanding a ransom, do not pay it.
Please report these messages to the FBI’s Internet Crime Complaint Center at ic3.gov. Then
block the sender and delete the message. In addition, you may consider reporting the message
as spam through your email.
Immediate action was taken to contain the impact, including contacting federal law
enforcement, engaging a leading forensic security firm and proactively taking the Fred Hutch
clinical network offline. A forensic team is continuing to assess the situation and Fred Hutch
will directly contact any individuals whose information was involved.
Patient care is not interrupted; Fred Hutch, UW Medical Center, Harborview Medical Center
and UW Medicine Primary Care clinics are open and serving patients.
If you have additional questions, Fred Hutch has established a dedicated call center to support
patients: 888-983-0612, available Monday through Friday between 6 a.m. – 6 p.m. PT and
Saturday and Sunday between 6 a.m. – 2 p.m. PT. You can also find information specific to
this incident at fredhutch.org/data-security.
Sincerely,

Timothy H. Dellit, MD
Chief Executive Officer, UW Medicine
Executive Vice President for Medical Affairs and
Paul G. Ramsey Endowed Dean of the School of Medicine,
University of Washington



The following is from a message in MyChart UW Medicine Fred Hutch Cancer Center

Fred Hutchinson Cancer Center Cybersecurity Incident
Fred Hutchinson Cancer Center recently experienced a cybersecurity incident. UW Medicine
and Fred Hutch are close partners. As a result of our work with Fred Hutch, the cybersecurity
incident experienced on Fred Hutch systems impacted data for some UW Medicine patients.
"Fred Hutch Cancer Center" "Cures Start Here"
Donate Now
Data Security Incident
        Case 2:23-cv-01998-JLR Document 1 Filed 12/28/23 Page 51 of 52


Update on Data Security Incident
This page was last updated: Dec. 11, 2023
Fred Hutchinson Cancer Center recently detected unauthorized activity on limited parts of our
clinical network. We immediately notified federal law enforcement and engaged a leading
forensic security firm to investigate and contain the incident.
All Fred Hutch clinics are open and actively serving patients.
The safety, wellbeing, and personal information of our patients and employees is of the utmost
importance to Fred Hutch. Our forensic team is continuing to conduct an assessment of the
data accessed and we will provide further updates as we have them.
Additional information can be found in the FAQ below. For further questions, please contact
our dedicated call center at 888.983.0612. You can also read the press release.
 Collapse All
What exactly happened?
On November 19, 2023, we detected unauthorized activity on our clinical network. We
immediately quarantined the servers, began investigating the incident and took steps to
confirm the security of our systems. As a protective measure, we also proactively took our
clinical network offline and implemented additional information technology security
protocols. All Fred Hutch clinics are still open and actively serving patients while we continue
to investigate.
Who did this?
Based on the information available, the criminal group responsible is outside the United
States. Fred Hutch notified federal law enforcement and is providing information to support
their investigation.
How did this happen?
Unfortunately, all organizations face cybersecurity risks and these kind of attacks have
targeted multiple healthcare institutions in the past. Fred Hutch has experienced technology
professionals and security tools in place that detected the unauthorized activity and effectively
prevented additional damage. We are continuously updating and enhancing systems to prevent
external parties from accessing information.
What is Fred Hutch doing to address the situation?
We immediately quarantined the impacted servers, notified federal law enforcement, and
engaged a leading forensic security firm to investigate the incident and confirm the security of
our systems. As a protective measure, we proactively took our clinical network offline and
implemented additional information technology security protocols. We have also implemented
additional defensive tools and increased monitoring to protect our data.
Was the UW Medicine system impacted?
At this time, it does not appear that the UW Medicine system was impacted.
I’m a UW Medicine patient – why does Fred Hutch have my data?
Since UW Medicine clinicians also provide care to patients at Fred Hutch and some services
are provided across multiple Fred Hutch and UW Medicine locations, the patient data
necessary to provide this care is shared across systems. The cybersecurity incident specifically
involved Fred Hutch systems but those systems also had some UW Medicine patient data
related to areas such as preventative and oncology care.
Was the Epic system impacted?
At this time, it does not appear that the Epic system was impacted.
Was study- or sponsor-related data impacted?
The Fred Hutch research network was not accessed. Our investigation is ongoing, but at this
time we do not have reason to believe that study or sponsor data was involved.
Was MyChart impacted?
No, patients can still access MyChart.
Case 2:23-cv-01998-JLR Document 1 Filed 12/28/23 Page 52 of 52
